Case 3:23-cv-00711-KM Document 11-8 Filed 05/31/23 Page 1 of 2

EXHIBIT “H”
 

Case 3:23-cv-00711-KM Document 11-8 Filed 05/31/23 Page 2 of 2

 

Magisterial District Judge 11-1-04

DOCKET
Docket Number: MJ-11104-NT-0000364-2019

Non-Traffic Docket

Commonwealth of Pennsylvania
Vv.
Douglas Bruce

 

 

 

Page 1 of 1
CASE INFORMATION
Judge Assigned: Alexandra Kokura Kravitz Issue Date:
OTN: File Date: 04/01/2019
Arresting Agency: Code Enforcement, Municipal Arrest Date:
Citation No.: R 2455557-6 Incident No.:
Disposition: Disposition Date:
County: Luzerne Township: Pittston City
Case Status: Inactive
: STATUS INFORMATION
Case Status Status Date Processing Status
Inactive 11/03/2022 Awaiting Plea
04/01/2019 Awaiting Plea
DEFENDANT. INFORMATION
Name: Bruce, Douglas Sex:
Date of Birth: Race:
Address(es):
Home
Colorado Springs, CO 80936
CASE PARTICIPANTS
Participant Type Participant Name
Defendant Bruce, Douglas
Arresting Officer Smith, Harry
CHARGES
# Charge Grade Description Offense Dt. Disposition
1 LO § 110 §§ 1 $s Demolition 03/29/2019
DOCKET ENTRY. INFORMATION
Filed Date Entry Eiler Applies To
05/03/2019 Certified Summons Accepted Magisterial District Court 11-1-04 Douglas Bruce, Defendant
04/25/2019 Summonsissued | Magisterial District Court 11-1-04 DouglasBruce,Defendant
04/25/2019 ” First Class Summons Issued Po M lagisterial District Court 11-1-04 — “Douglas Bruce, Defendant _ OC
04/25/2019 CertifiedSummons Issued Cs Magisterial District Court 11-1-04 DouglasBruce,Defendant = 3 =
04/01/2019 Non-Traffic Citation Filed == Magisterial District Court 11-104
MDJS 1200 Printed: 05/17/2023 2:13 pm

Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial System of the
Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assumes any liability for inaccurate or delayed data , errors or omissions
on these docket sheets. Docket sheet information should not be used in place of a criminal history background check, which can only be provided by the
Pennsylvania State Police. Employers who do not comply with the provisions of the Criminal History Record Information Act (18 Pa.C.S. Section 9101 et seq.)
mayv be subiect to civil liability as set forth in 18 Pa.C.S. Section 9183.

 
